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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                              8:13CR106

     vs.

RUSSELL GLENN PIERCE,
DAVID WILLIAM PEER,
WARREN TIDWELL,
JOSHUA WELCH and
THOMAS SPENCER,

                  Defendants.


UNITED STATES OF AMERICA,

                  Plaintiff,                              8:13CR107

     vs.

VINCENT DIBERARDINO,
MICHAEL HUYCK,
ANTHONY LAURITA,
BRANDON MOORE,
JOHN SEBES and
GARY REIBERT,

                  Defendants.


UNITED STATES OF AMERICA,

                  Plaintiff,                              8:13CR108

     vs.

KIRK COTTOM,
DAVID SMITH and
KEVIN M. PITMAN

                  Defendants.
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       These matters are before the court on motions for an extension of time to file
objections to the magistrate’s Report and Recommendation on the motions to suppress by
defendant Peer in 8:13CR106 (Filing No. 208) and by defendant Cottom in 8:13CR108 (Filing
No. 149). The motions will be granted. Furthermore, to avoid the filing of identical motions
by the various defendants, the court will extend the time to August 22, 2014, for all
defendants in all the above-captioned cases to file their objections to the magistrate
judge’s July 28, 2014, Report and Recommendation concerning the NIT warrants suppression
issues. The government shall have to on or before September 12, 2014, to file an omnibus
response.
       IT IS SO ORDERED.
       DATED: August 6, 2014.
                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
